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UNITED STATES BANKRUPTCY COURT
FOR THE WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

In re: No.: 09-10318-SJS

RUPANJALI SNOWDEN, CHECK INTO CASBH’S
SUPPLEMENTAL BRIEF REGARDING
Debtor. DISCHARGE AND
DISCHARGEABILITY

 

 

 

There is no dispute that Check Into Cash made its presentment (whether an instrument or
an item) before the Court granted Rupanjali Snowden a discharge. Despite this, Snowden asserts
that the affirmative defense of “discharge in bankruptcy” proscribed Check Into Cash’s right to
present her check for payment. Washington’s UCC provides a defense to presentment for
“discharge of the obligor in insolvency proceedings.” RCW 62A.3-305(a)(1){iv). Snowden’s
status as a “discharged debtor” is distinct from her status pending discharge.

The Bankruptcy Code’s statutory framework demonstrates that discharge is a unique event
before which a debtor cannot assert the defense of discharge. Among other things, Congress
enacted the Bankruptcy Code to shield debtors from creditors seeking to enforce debts. Congress
accomplished this objective in two ways. First, it imposed an automatic stay on most collection
efforts upon filing a petition. 11 U.S.C. § 362(a). Second, it authorized courts to enter an order

discharging the debtor from liability on debts after exiting bankruptcy. 11 U.S.C. § 727. Until

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the Court has entered an order discharging the debtor from liability, the debtor must rely on the
automatic stay provisions for relief from collection activities. 11 U.S.C. § 362(c)(2) (automatic
stay remains in effect until entry of discharge); see also Inve Venegas, 257 B-R. 41 (Bkr. D.Idaho
2001) (discussing two distinct periods in bankruptcy proceeding).

Discharge is not automatic. Interested parties must have an opportunity to challenge the
dischargeability of debts. Fed. R. Bankr. P. 4007. Discharge may occur only after the period for
challenging the status of debts has expired if the debtor meets other criteria. Fed. R. Bankr. P.
4004(c). Ultimately, a debtor cannot be deemed discharged “until the bankruptcy court orders
discharge...” Jn re Thomas, 428 F.3d 735. 738 (8th Cir. 2005). In Washington, the affirmative
defense of discharge requires prima facie evidence of an actual discharge in bankruptcy. Taitch v.
Lavoy, 57 Wn.2d 857, 360 P.2d 588 (1961). Absent evidence that the Court discharged Snowden
before Check Into Cash presented her check, she cannot claim this affirmative defense.

The Eighth Circuit Court of Appeals reached this conclusion on identical facts in In re
Thomas. In that case, a Chapter 7 debtor sought sanctions against Money Mart, a pay-day loan
company, for presenting her pre-petition checks after commencement of a bankruptcy proceeding,
but before entry of discharge. The bankruptcy court held that, because the defense of discharge
was unavailable under Missouri’s Uniform Commercial Code,’ MoneyMart’s presentment was
valid and excepted from automatic stay under Section 362(b)(11). /d. at 736. The Eighth Circuit
affirmed, holding that the UCC defense of “discharge” is available only after the debtor actually
receives a discharge. /d. at 738. “Discharge is a specific occurrence in a bankruptcy case,
effected by court order, and is not guaranteed merely by the filing of a petition for relief.” Jd. at
737. The Eighth Circuit criticized the Ninth Circuit BAP’s dicta in Hines v. Gordon for failing to
recognize the important distinction between pre- and post-discharged debtors: Hines, however,

ignores this important distinction and effectively expands ‘discharge’ to include ‘potential

 

Washington's relevant UCC provision is identical to Missouri’s provision. Compare Mo. Rev. Stat. §
400.3 305(a)(1 (iv) with RCW 62A.3-305(a)( i) Civ).

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discharge,’ allowing the obligor to benefit from a discharge it has not yet earned.” Thomas, 428
F.3d at 737-38 (criticizing Hines v. Gordon (In re Hines), 198 B-R. 769 (9th Cir. BAP 1996)
overruled in entirety 147 F.3d 1185 (9th Cir. 1998)). The Eighth Circuit further observed that the
Hines dicta interprets the UCC in a way that undermines federal bankruptcy law. Jd at 738.
Thus, its practical effect “is to render meaningless Section 362(b)(11) in any state with this
common statutory language.” /d. at 738. Washington is one such state. See RCW 62A.3-305.

Until the Court discharged Snowden, she could only rely on the automatic stay to prevent
creditors from collecting their debts from her. As demonstrated in previous briefing and oral
argument, the automatic stay does not apply to the valid presentment of negotiable instruments.
11 U.S.C. § 362(b)(11). This exception existed before Congress codified it in Section 362. See
Morgan Guaranty Trust Co. of New York v American Savings & Loan Ass’n, 804 F.2d 1487,
1492 (9th Cir. 1986); see also In re Minter-Higgins, 366 B.R. 880, 887 (Bankr. N.D. Ind. 2007)
rev'd on other grounds 399 B.R. 34. If Snowden were allowed to claim discharge as a defense to
presentment before she was actually discharged, the affirmative defense would swallow the rule.
Section 362(b)(11) would be meaningless. Courts must interpret statutes so as not to render any
section meaningless. Beck v. Prupis, 529 U.S. 494, 506 (2000). The Court should reject
Snowden’s claim that the defense of discharge applies in this case because Check Into Cash
presented Snowden’s check before the Court entered an order discharging her.

Further, the presentment exception is not limited to financial institutions, as Snowden has
suggested. The plain language of the statute exempts “the presentment of a negotiable instrument
and the giving of notice of and protesting dishonor of such instrument.” 11 U.S.C. § 362(6)(11).
The purpose of this exception is to facilitate routine commercial transactions. Yoon v. Minier-
Higgins, 399 B.R. 34, 38 (N.D. II. 2008); Jn re Sawyer, 324 B.R. 115, 121 (Bankr. D. Ariz.
2005): see also In re Meadows, 396 B.R. 485, 495 n.4 (6th Cir. BAP 2008). If the presentment
exception were limited only to financial institutions, commerce would grind to a snail’s pace.

Thousands of businesses, from Check Into Cash to Wal-Mart, accept checks every day. Without

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the protection of Section 362(b)(11), these businesses would have to investigate each check to
confirm that the maker had not filed for bankruptcy that day. This result would be contrary to
Congress’s purpose for codifying the presentment exception: to facilitate routine commercial
transactions. See Yoon, 399 B.R. at 38.

In summary, Snowden’s attempt to recover her attorney’s fees from Check Into Cash has
no merit. Check Into Cash’s presentment was valid because the affirmative defense of discharge
was not available at that time. That presentment was a routine commercial transaction, for which

the automatic stay exception exists. The Court should deny Snowden’s Motion for Sanctions.

DATED this 23rd day of September, 2009.
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